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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO



 In re: Shale Oil Antitrust Litigation                Case No. 1:24-md-03119-MLG-LF
                                                      Judge Matthew L. Garcia
 This Document Relates to:
                                                       ORAL ARGUMENT REQUESTED
 ALL ACTIONS


  DEFENDANT EXPAND ENERGY CORPORATION’S MOTION TO DISMISS THE
             CONSOLIDATED CLASS ACTION COMPLAINT

       Expand Energy Corporation (“Expand”), formerly known as Chesapeake Energy

Corporation, moves under Fed. R. Civ. P. 12(b)(6) to dismiss the claims alleged against it in the

Consolidated Class Action Complaint (MDL Dkt. 86) (“Complaint” or “Compl.”) filed by

Plaintiffs Abraham Drucker, et al. (“Plaintiffs”). Expand should be dismissed from this case

because Plaintiffs fail to plead sufficient facts against Expand to support their federal and state law

claims. Expand files this separate motion and memorandum in support to address additional bases

for dismissal that are unique to Expand.

       The Complaint should be dismissed against Expand for two reasons. First, outside of the

generalized, conclusory allegations that, as explained in the Joint Motion, fall well short of the

requirements of Twombly and their state law claims, Plaintiffs make no effort to allege, with any

particularity, the nature of Expand’s participation in the alleged conspiracy. Second, Plaintiffs fail

to allege facts to support their request for injunctive relief. Plaintiffs allege that Expand is not

presently an oil producer. Plaintiffs cannot seek to enjoin Expand from a conspiracy to limit oil

production when it alleges Expand is no longer producing oil. All claims against Expand should

be dismissed for failure to state a claim under Rule 12(b)(6).




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Dated: February 24, 2025                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2025, a true copy of the above and foregoing was

filed and served electronically to all counsel of record.


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